      Case 1:23-cv-01599-ABJ-ZMF Document 253 Filed 07/30/24 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                       Plaintiff,

       v.                                                    No. 1-23-cv-01599-ABJ

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                      Defendants.



         JOINT RESPONSE TO THE COURT’S JULY 9, 2024 MINUTE ORDER
       Plaintiff Securities and Exchange Commission (“SEC”), Defendant Binance Holdings

Limited, Defendant BAM Trading Services Inc., Defendant BAM Management US Holdings

Inc., and Defendant Changpeng Zhao (collectively, the “Parties”) respectfully submit this Joint

Response pursuant to the Court’s July 9, 2024 Minute Order setting forth the parties’ respective

positions.

I.     SEC’S PROPOSAL

       The SEC informed Defendants that it intends to seek leave to amend its Complaint,

including with respect to the “Third Party Crypto Asset Securities” as defined in the SEC’s

Omnibus Opposition to Defendants’ Motion to Dismiss, Dkt. No. 172, obviating the need for the

Court to issue a ruling as to the sufficiency of the allegations as to those tokens at this time. The

parties met and conferred and have agreed to the following proposed schedule for briefing on a

motion to amend and related pleadings:




                                                  1
      Case 1:23-cv-01599-ABJ-ZMF Document 253 Filed 07/30/24 Page 2 of 7




       1. SEC Motion to Amend: Due within 30 days of entry of the Scheduling Order by the

           Court.

       2. Defendants’ Responses Either Consenting to or Opposing Motion to Amend:

           Due 30 days thereafter.

       3. SEC Reply in Support of Motion to Amend: Due 21 days thereafter.

       4. Defendants’ Answers/Rule 12 Motion(s): Due within 30 days of entry of the

           Court’s Order resolving the SEC’s motion to amend or, if Defendants do not oppose

           amendment, within 30 days of the filing of Defendants’ response consenting to the

           amendment of the SEC’s Complaint.

       5. SEC’s Response to Rule 12 Motion(s): Due 30 days thereafter.

       6. Defendants’ Reply in Support of Rule 12 Motion(s): Due 21 days thereafter.

       While the parties agreed to a schedule on briefing and related pleadings, the Parties were

unable to reach agreement as to whether discovery should commence (subject to an agreed

schedule set forth below) as to the claims the Court already ruled would go forward, or whether

the parties need to further meet and confer on this issue.

       The SEC proposes that, regardless of any pending motions, discovery will commence

pursuant to the proposed agreed schedule below on the SEC’s claims that the Court held will

proceed pursuant to its June 28, 2024 Memorandum and Order, Dkt. No. 248, and that any other

discovery will be addressed after the Court rules on the SEC’s motion to amend and any

subsequent Rule 12 motion(s).

       Defendants were unwilling to agree to the commencement of discovery, claiming they

cannot agree to the commencement of discovery without reviewing the SEC’s proposed amended

complaint. However, the SEC is not asking Defendants to agree to conduct merits discovery as



                                                 2
      Case 1:23-cv-01599-ABJ-ZMF Document 253 Filed 07/30/24 Page 3 of 7




to potentially new allegations in the SEC’s proposed amended complaint. Instead, the SEC’s

position is that Counts 1 and 3, along with Counts 4-13, have already survived Defendants’

motion to dismiss, regardless of any additional allegations the SEC may make in an amended

complaint with respect to the scope of Counts 1 and 3. It is not “premature” or “unreasonable”

to order the parties to commence discovery as to all of those Counts and the allegations that

support them, now. To the extent the SEC makes additional allegations and they survive further

motion practice, the parties can discuss what additional discovery, if any, is proper as to those

allegations, at that time.

        Aside from the issue of whether discovery will commence on the SEC’s claims that the

Court held will proceed pursuant to its June 28, 2024 Order, the SEC proposes the agreed

schedule as follows. The parties propose to meet and confer in accordance with Rule 26(f) of the

Federal Rules of Civil Procedure and this Court’s Local Rules within 14 days of the SEC filing

its motion to amend, and to file their Rule 26(f) report within 14 days of that meet and confer.

Further, within 14 days of the entry of the Court’s order resolving the SEC’s motion to amend or

any Rule 12 motion by Defendants, the parties shall meet and confer to discuss any changes to

the proposed discovery plan and the Court’s scheduling order, and, within 14 days of the meet

and confer, file a joint supplemental report proposing changes to the discovery plan, if any.

II.     DEFENDANTS’ PROPOSAL

        Defendants BAM Management US Holdings Inc., BAM Trading Services Inc.

(collectively, “BAM”), Binance Holdings Limited (“BHL”), and Changpeng Zhao (“Zhao”),

respectfully submit their proposed schedule as follows:

        During the process of conferring with the SEC, the SEC represented for the first time that

it intends to move for leave to file an Amended Complaint. The detail in the SEC’s proposal above



                                                 3
      Case 1:23-cv-01599-ABJ-ZMF Document 253 Filed 07/30/24 Page 4 of 7




regarding amendment was not disclosed to Defendants until 11:53 PM ET on July 29, 2024, and

suggests that they intend amendments beyond the claims concerning the Third-Party Tokens.

       After working diligently together in numerous exchanges, the Parties reached an agreement

on specific language for the joint status report addressing dates for the amendment of pleadings,

further motions practice, and a discovery plan, as of approximately 1:44 PM ET on July 29, 2024.

Unfortunately, when the SEC sent the draft joint status report at approximately 3:24 PM ET, the

SEC added new language falsely stating that the Parties had agreed that discovery should

commence shortly after the SEC files a proposed amended complaint—which, again, Defendants

still have not seen. After several email exchanges, the SEC ultimately refused to withdraw its new

language at 10:43 PM ET, resulting in the Parties now having competing proposals.

       After the SEC seeks leave to amend, the Parties should meet and confer to discuss further

steps regarding the claims that the Court previously sustained, including a plan for discovery, and

then submit a Rule 26(f) report. Defendants propose the following schedule be adopted by the

Court, which is what Defendants previously agreed to with the SEC and which the SEC also

accepted, subject to its insistence this afternoon and evening that Defendants agree to commence

discovery without having an opportunity to see the SEC’s proposed amended complaint:

       •   SEC Motion to Amend: Due within 30 days of entry of the Scheduling Order by the

           Court.

       •   Defendants’ Responses Either Consenting to or Opposing Motion to Amend: Due

           30 days thereafter.

       •   SEC Reply in Support of Motion to Amend: Due 21 days thereafter.

       •   Defendants’ Answers/Rule 12 Motion(s): Due within 30 days of entry of the Court’s

           Order resolving the SEC’s motion to amend or, if Defendants do not oppose


                                                4
      Case 1:23-cv-01599-ABJ-ZMF Document 253 Filed 07/30/24 Page 5 of 7




           amendment, within 30 days of the filing of Defendants’ response consenting to the

           amendment of the SEC’s Complaint.

       •   SEC’s Response to Rule 12 Motion(s): Due 30 days thereafter.

       •   Defendants’ Reply in Support of Rule 12 Motion(s): Due 21 days thereafter.

       •   Discovery: The Parties will meet and confer in accordance with Rule 26(f) of the

           Federal Rules of Civil Procedure and this Court’s Local Rules within 14 days of the

           SEC filing its motion to amend, to address a discovery plan for the claims this Court

           held will proceed pursuant to its June 28, 2024 Memorandum and Order, Dkt. 248, and

           will file their Rule 26(f) report within 14 days of that meet and confer. Further, within

           14 days of the entry of the Court’s order resolving the SEC’s motion to amend or any

           Rule 12 motion by Defendants, the Parties shall meet and confer to discuss any changes

           to the proposed discovery plan and the Court’s scheduling order, and, within 14 days

           of the meet and confer, file a joint supplemental report proposing changes to the

           discovery plan, if any.

       Consistent with the discussion at the July 9, 2024 hearing, this proposal provides that

further proceedings will start with the SEC either seeking leave to amend the Complaint or

confirming that it plans to proceed with the current Complaint. See July 9, 2024 Tr. at 10:11-19.

Until Defendants have a set of proposed amended allegations in front of them, it is premature and

unreasonable for the SEC to expect them to agree to conduct merits discovery for claims on which

the SEC may soon seek leave to amend its allegations (e.g., Counts 1 and 3).




                                                 5
    Case 1:23-cv-01599-ABJ-ZMF Document 253 Filed 07/30/24 Page 6 of 7




Dated: July 29, 2024                             Respectfully submitted,


s/ Daniel W. Nelson                              s/Matthew Scarlato
Daniel W. Nelson (D.C. Bar #433415)              Matthew Scarlato (D.C. Bar No. 484124)
Jason J. Mendro (D.C. Bar #482040)               Jennifer L. Farer (D.C. Bar No. 1013915)
Stephanie Brooker (pro hac vice)                 David A. Nasse (D.C. Bar No. 1002567)
M. Kendall Day (pro hac vice)                    SECURITIES AND EXCHANGE
Amy Feagles (pro hac vice)                       COMMISSION
Matt Gregory (D.C. Bar #1033813)                 100 F Street, NE
Jeremy M. Christiansen (D.C. Bar #1044816)       Washington, DC 20549-9040
GIBSON, DUNN & CRUTCHER LLP                      (202) 551-3749 (Scarlato)
1050 Connecticut Avenue, N.W.                    scarlatom@sec.gov
Washington, D.C. 20036-5306
(202) 887-3687 (Nelson)                          Elisa S. Solomon
DNelson@gibsondunn.com                           J. Emmett Murphy
                                                 Jorge G. Tenreiro
                                                 SECURITIES AND EXCHANGE
Attorneys for Defendant Binance                  COMMISSION
Holdings Limited                                 100 Pearl Street
                                                 New York, NY 10004

                                                 Attorneys for Plaintiff Securities and
                                                 Exchange Commission




                                             6
    Case 1:23-cv-01599-ABJ-ZMF Document 253 Filed 07/30/24 Page 7 of 7




s/Abid R. Qureshi                        s/ Daniel J. Davis
Abid R. Qureshi (D.C. Bar No. 459227)    Daniel J. Davis (D.C. Bar #484717) (pro hac vice)
William R. Baker, III (D.C. Bar No.      KATTEN MUCHIN ROSENMAN LLP
383944)                                  1919 Pennsylvania Ave NW
Erik S. Volkman (D.C. Bar No. 490999)    Washington DC 20006
Michael E. Bern (D.C. Bar No. 994791)    daniel.davis@katten.com
LATHAM & WATKINS LLP
555 Eleventh Street, NW, Suite 1000      Christian T. Kemnitz (pro hac vice)
Washington, DC 20004                     Levi Giovanetto (D.C. Bar #1001160) (pro hac
Tel: (202) 637-2200                      vice)
Fax: (202) 637-2201                      David Luger (pro hac vice)
abid.qureshi@lw.com                      KATTEN MUCHIN ROSENMAN LLP
william.baker@lw.com                     525 W. Monroe Street
eric.volkman@lw.com                      Chicago, IL 60661
michael.bern@lw.com                      christian.kemnitz@katten.com
                                         levi.giovanetto@katten.com
Douglas K. Yatter (pro hac vice)         david.luger@katten.com
Benjamin Naftalis (pro hac vice)
LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020                       George S. Canellos (pro hac vice)
Tel: (212) 906-1200                      Matthew Laroche (pro hac vice)
Fax: (212) 751-4864                      MILBANK LLP
douglas.yatter@lw.com                    55 Hudson Yards
benjamin.naftalis@lw.com                 New York, NY 10001-2163
                                         212-530-5792
Heather A. Waller (pro hac vice)         gcanellos@milbank.com
LATHAM & WATKINS LLP                     mlaroche@milbank.com
330 North Wabash Avenue, Suite 2800
Chicago, IL 60611                        Attorneys for Defendants BAM Trading Services
Tel: (312) 876-7700                      Inc. and BAM Management Holdings
Fax: (312) 993-9767                      US Inc.
heather.waller@lw.com

Melanie M. Blunschi (pro hac vice)
LATHAM & WATKINS LLP
505 Montgomery Street, Suite 2000
San Francisco, CA 94111-6538
Tel: (415) 391-0600
Fax: (415) 395-8095
melanie.blunschi@lw.com

Attorneys for Defendant Changpeng Zhao




                                         7
